                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION



 UNITED STATES OF AMERICA,
                 Plaintiff,                               No. CR05-4096-MWB
 vs.                              ORDER ACCEPTING MAGISTRATE
                                        JUDGE’S REPORT AND
 SANTIAGO PINA GARCIA,            RECOMMENDATION REGARDING
                                    DEFENDANT’S RULE 11(c)(1)(C)
          Defendant.                        GUILTY PLEA
                       ____________________

                        I. INTRODUCTION AND BACKGROUND
         On August 24, 2005, an indictment was returned against defendant Santiago Pina
Garcia, charging defendant with conspiring to distribute 500 grams or more of
methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846, and with
possessing with intent to distribute 500 grams or more of methamphetamine, in violation
of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B). On June 8, 2006, defendant appeared before
United States Magistrate Judge Paul A. Zoss and entered a plea of guilty to Counts of 1
and 2 of the indictment.         On this same date, Judge Zoss filed a Report and
Recommendation in which he recommends that defendant’s guilty plea be accepted. No
objections to Judge Zoss’s Report and Recommendation were filed. The court, therefore,
undertakes the necessary review of Judge Zoss’s recommendation to accept defendant’s
plea in this case.


                                       II. ANALYSIS
         Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:




       Case 5:05-cr-04096-MWB-LTS        Document 91      Filed 08/29/06    Page 1 of 2
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Zoss’s findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Zoss’s Report and Recommendation of June 8, 2006,
and accepts defendant’s plea of guilty in this case to Counts 1 and 2 of the indictment.
       IT IS SO ORDERED.
       DATED this 29th day of August, 2006.




                                            2


    Case 5:05-cr-04096-MWB-LTS         Document 91      Filed 08/29/06    Page 2 of 2
